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                                                August 13, 2018
      Via ECF

      Hon. Nancy Joseph
      United States District Court
      517 East Wisconsin Avenue
      Milwaukee, WI 53202


              Re:      Voeks v. Barclays Bank Delaware
                       Case No. 18-cv-00808-NJ

      Dear Judge Joseph:

              All parties in this action have reached a resolution of this action in principle. The parties
      are in the process of drafting and exchanging documents. The parties expect that a stipulation or
      unopposed motion of voluntary dismissal will be submitted to the Court shortly, and within 45
      days. In the interim, the parties have agreed that Defendant does not need to file a responsive
      pleading.

              As such, Plaintiff respectfully requests that the Court not take any further action on this
      case. Plaintiff also suggests that the Court close this case administratively until a stipulation or
      unopposed motion of dismissal with prejudice is filed.


                                                             Very truly yours,
                                                             ADEMI & O’REILLY, LLP


                                                             /s/ Mark A. Eldridge
                                                             Mark A. Eldridge




                     Case 2:18-cv-00808-NJ Filed 08/13/18 Page 1 of 1 Document 6
